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14 Brasil Ltda.

15                                  UNITED STATES DISTRICT COURT
16                                 NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
17

18                                                ) Case No. 07-5944-SC
   In re: CATHODE RAY TUBE (CRT)                  )
19 ANTITRUST LITIGATION                           ) MDL No. 1917
                                                  )
20                                                ) DEFENDANTS PHILIPS ELECTRONICS
                                                  ) NORTH AMERICA CORPORATION’S,
21   This Document Relates to:                    ) PHILIPS TAIWAN LIMITED’S, AND
                                                  ) PHILIPS DO BRASIL LTDA.’S NOTICE OF
22   Electrograph Sys., Inc. v. Hitachi, Ltd.,    ) MOTION AND MOTION FOR PARTIAL
     No. 11-cv-01656;                             ) SUMMARY JUDGMENT
23                                                )
                                                  ) Date:          February 6, 2015
24   Electrograph Sys., Inc. v. Technicolor SA,   ) Time:          10:00 a.m.
     No. 13-cv-05724;                             ) Place:         Courtroom 1, 17th Floor
25                                                )
     Siegel v. Hitachi, Ltd.,                     ) Hon. Samuel P. Conti
26   No. 11-cv-05502;                             )
                                                  )
27                                                )
     Siegel v. Technicolor SA,                    )
28   No. 13-cv-05261;                             )
                                                  )
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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 7                                                         )
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                  RECOMMENDATION REGARDING PHILIPS’ AND LG’S MOTION TO DISMISS (3:07-CV-05944 SC, MDL NO. 1917)
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 1                NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

 2          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE that on February 6, 2015, at 10:00 a.m. or as soon thereafter as this

 4 matter may be heard before the Honorable Samuel P. Conti, U.S. District Court Judge, U.S. District

 5 Court for the Northern District of California, Courtroom No. 1, 17th Fl., 450 Golden Gate Avenue, San

 6 Francisco, California 94102, Defendants Philips Electronics North America Corporation (“PENAC”),

 7 Philips Taiwan Limited (f/k/a Philips Electronics Industries (Taiwan) Ltd.) (“PTL”), and Philips do

 8 Brasil Ltda. (f/k/a Philips da Amazonia Industria Electronica Ltda.) (“PDBL”) (collectively, the

 9 “Defendants”) will and hereby do move this Court, pursuant to Federal Rule of Civil Procedure 56 and

10 Local Rule of Civil Procedure 56, for an Order granting judgment in favor of PENAC, PTL, and PDBL

11 on Plaintiffs’ claims for liability and damages after June 2001 because there is no issue of material fact

12 as to whether these defendants withdrew from the alleged conspiracy at that point.1

13          This Motion is based on this Notice of Motion and Motion, the accompanying Memorandum of

14 Points and Authorities in support thereof, the Declaration of Tiffany B. Gelott and related exhibits, the

15 pleadings and correspondence on file with the Court, and such arguments and authorities as may be

16 presented at or before the hearing.

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     1 This motion relates to all actions and Plaintiffs listed in the caption above. Only PENAC is named as
23
     a defendant in all of the Plaintiffs’ actions. This motion is submitted on behalf of the relevant
24   Defendants for each action. Further, as stated in Defendant Koninklijke Philips N.V.’s (“KPNV”)
     concurrently filed motion for summary judgment, KPNV does not need to establish withdrawal
25   because there is no evidence that it ever joined or participated in the alleged conspiracy. However, to
26   the extent KPNV’s motion for summary judgment is denied, Defendants’ motion for partial summary
     judgment would also apply to KPNV and warrants the grant of partial summary judgment in favor of
27   KPNV as well.

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        DEFENDANTS PHILIPS ELECTRONICS NORTH AMERICA CORPORATION, PHILIPS TAIWAN LIMITED, AND PHILIPS DO BRASIL
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          PENAC, PTL, and PDBL submit this memorandum of points and authorities in support of their

 3 motion for partial summary judgment.

 4                                          ISSUE TO BE DECIDED

 5          1.      Whether partial summary judgment should be granted in favor of PENAC, PTL, and

 6 PDBL on Plaintiffs’ claims for liability and damages after June 2001—whether based on direct or joint

 7 and several liability—because there is no disputed issue of material fact regarding whether PENAC,

 8 PTL, and PDBL withdrew from the alleged conspiracy by June 2001.

 9                                              INTRODUCTION

10          It is undisputed that, in June 2001, PENAC, PTL, and PDBL transferred all of their CRT

11 manufacturing and sales operations to LG.Philips Displays B.V. (“LPD”), a joint venture of KPNV and

12 LG Electronics Industries (“LGEI”).2 This divestment of all CRT operations with the creation of LPD

13 in June 2001 has major ramifications for PENAC, PTL, and PDBL, cutting off their liability for any of

14 Plaintiffs’ claims after that point. Regardless of the accuracy of Plaintiffs’ allegations that these

15 defendants participated in the alleged conspiracy as CRT manufacturers for some period between 1995

16 and June 2001, there is no issue of material fact as to whether these defendants could have possibly

17 remained members of the alleged conspiracy after the creation of LPD. After that point, each of these

18 defendants ceased manufacturing and selling CRTs and thus could not have continued to participate in

19 an alleged conspiracy whose goal was to raise the price of a product they no longer manufactured or

20 sold. Plaintiffs have pointed to no evidence that any employee of PENAC, PTL, or PDBL participated

21 in any meeting of the alleged CRT conspiracy after June 2001 or ever agreed to fix the price of CRTs

22 among competitors after that time. Nor is there any evidence that PENAC, PTL, or PDBL could have

23 benefited in some way from the alleged conspiracy after June 2001.

24
     2 See, e.g., Best Buy 1st Am. Compl. (Dkt. No. 1978, Oct. 3, 2013) (“Best Buy Compl.”), ¶ 45 (“In
25
   2001, Royal Philips transferred its CRT business to a 50/50 joint venture with Defendant LGEI,
26 forming Defendant LGPD (n/k/a LP Displays).”). For ease of reference, Defendants have included an
   appendix to this motion (Appendix A), which provides a cross-reference guide between the allegations
27 in Plaintiffs’ complaints that are cited in this brief and the similar allegations made by other plaintiffs.

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        DEFENDANTS PHILIPS ELECTRONICS NORTH AMERICA CORPORATION, PHILIPS TAIWAN LIMITED, AND PHILIPS DO BRASIL
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 1          Instead, PENAC’s, PTL’s, and PDBL’s sole connections to the CRT industry after the

 2 formation of LPD were as purchasers of CRTs from LPD and other alleged conspirators for

 3 incorporation into CRT products such as televisions and computer monitors (“CRT Finished

 4 Products”). In this role, PENAC, PTL, and PDBL consistently fought for and obtained lower prices

 5 for the CRTs they purchased—acts clearly antithetical to the very purpose of the alleged conspiracy to

 6 increase CRT prices. Further, if Plaintiffs’ allegations are true, then PENAC, PTL, and PDBL would

 7 have been injured by the alleged conspiracy by having to pay super-competitive prices for CRTs—just

 8 like any of the Plaintiffs.

 9          PENAC’s, PTL’s, and PDBL’s divestment of their CRT businesses in June 2001 and their sole

10 role as purchasers of CRTs thereafter constitute clear withdrawal from the alleged conspiracy.

11 Withdrawal can be satisfied by the “resumption of competitive behavior,” “[a]ffirmative acts

12 inconsistent with the object of the conspiracy,” or divesting a business and communicating to

13 competitors that you will do “nothing more to assist or participate in the price-fixing activities” of the

14 alleged conspiracy.3 In this case, all of these methods for establishing withdrawal are satisfied:

15 PENAC, PTL, and PDBL resumed “competitive behavior” by solely purchasing CRTs and fighting for

16 and receiving lower prices on these CRTs—“affirmative acts [clearly] inconsistent with the object of

17 the [alleged] conspiracy” to increase CRT prices. Further, by divesting their CRT manufacturing

18 businesses, PENAC, PTL, and PDBL made clear to all of the alleged conspirators that they would do

19 “nothing more to assist or participate in the [alleged] price-fixing activities” and this message was

20 publicly pronounced—including to the alleged conspirators—in the news media and Philips’ corporate

21 statements. By these actions, PENAC, PTL, and PDBL openly withdrew from the alleged conspiracy.

22 Such an open withdrawal eliminates any liability for the alleged post-withdrawal acts of the alleged

23 conspiracy and summary judgment should be granted in favor of PENAC, PTL, and PDBL on

24 Plaintiffs’ claims for liability and damages after June 2001.

25
     3 United States v. U.S. Gypsum Co., 438 U.S. 422, 464–65 (1978), United States v. Lothian, 976 F.2d
26
   1257, 1261 (9th Cir. 1992); Morton’s Mkt., Inc. v. Gustafson’s Dairy, Inc., 198 F.3d 823, 839 (11th
27 Cir. 1999), amended by 211 F.3d 1224 (2000).

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        DEFENDANTS PHILIPS ELECTRONICS NORTH AMERICA CORPORATION, PHILIPS TAIWAN LIMITED, AND PHILIPS DO BRASIL
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 1                                 STATEMENT OF UNDISPUTED FACTS

 2 I.       THE DEFENDANTS AND THEIR ROLE IN THE CRT MARKET

 3          1)      From March 1995 through June 2001, PENAC, PTL, and PDBL manufactured CRTs

 4 and CRT Finished Products.4

 5          2)      In June 2001, KPNV and LGEI entered into a Joint Venture Agreement creating LPD.5

 6          3)      As part of the Joint Venture Agreement, KPNV and LGEI agreed to transfer the entire

 7 CRT operations of their respective corporate groups to LPD.

 8

 9

10          4)      After the divestment of their CRT operations in June 2001, PENAC, PTL, and PDBL

11 all stopped manufacturing CRTs.7

12          5)      PENAC, PTL, and PDBL continued to manufacture and sell CRT Finished Products

13 after the formation of LPD in June 2001.

14

15
     4 See, e.g., Best Buy Compl. ¶¶ 46–48; see also Appendix A.
16
   5 Ex. 1, Joint Venture Agreement by and between LG Electronics Inc. and Koninklijke Philips
17 Electronics N.V. dated as of June 11, 2001, LGE0000054 (“JV Agreement”). All exhibits in this

18 motion refer to exhibits to the accompanying Declaration of Tiffany B. Gelott.
   6 Ex. 1, JV Agreement, Art. 2; Ex. 2, Objections and Responses of Defendant Koninklijke Philips N.V.
19 to Direct Action Plaintiffs’ First Set of Requests for Admission (July 10, 2014) (“KPNV Responses to

20 DAPs’ First RFAs”), Response to Request No. 10; Ex. 3, Declaration of Franciscus Spaargaren (Apr.
   10, 2014) (“Spaargaren Decl.”) ¶ 11; Best Buy Compl. ¶ 45 (“In 2001, Royal Philips transferred its
21 CRT business to a 50/50 joint venture with Defendant LGEI, forming Defendant LGPD n/k/a LP
   Displays.”); see also Appendix A.
22 7
     See, e.g., Best Buy Compl. ¶ 45; see also Appendix A; Ex. 4, Objections and Responses of Defendant
23 Philips Electronics North America Corporation to Indirect Purchaser Plaintiffs’ First Set of
   Interrogatories (September 3, 2014), p. 11, Response to Interrogatory No. 2 (“[U]pon the formation of
24 LPD, all subsidiaries of KPNV, including PDBL, divested their CRT manufacturing, distribution, and
   selling assets.”); Ex. 5, Objections and Responses of Defendant Philips Taiwan Limited to Indirect
25 Purchaser Plaintiffs’ First Set of Interrogatories (September 3, 2014), p. 11, Response to Interrogatory

26 No. 2 (same for PTL); Ex. 6, Objections and Responses of Defendant Philips do Brasil, Ltda. to
   Indirect Purchaser Plaintiffs’ First Set of Interrogatories (September 3, 2014), p. 11, Response to
27 Interrogatory No. 2 (same for PDBL).

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 3 II.       AFTER JUNE 2001, THERE IS NO EVIDENCE THAT PENAC, PTL, OR PDBL
             PARTICIPATED IN THE ALLEGED CONSPIRACY
 4
             6)      Plaintiffs allege that from March 1, 1995 through November 2007,9 multiple CRT
 5
     manufacturers conspired to fix the price of CRTs, which resulted in inflated prices for CRTs.10
 6
             7)      Plaintiffs allege that various individuals employed by PENAC, PTL, and PDBL
 7
     attended meetings of the alleged CRT conspiracy and agreed to fix prices from March 1995 through
 8
     June 2001.11
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             8)
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                                                                 .12
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             9)      After June 2001, Plaintiffs assert that LPD participated in the alleged conspiracy by
13
     attending meetings of the alleged conspiracy and allegedly agreeing to fix prices.13
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     8 Ex. 7, Deposition of Roger De Moor (July 31, and August 1, 2012) (“De Moor Dep.”) at 37:4–6,
16
     41:12–17.
17   9 The Sharp and Tech Data Complaints assert that the alleged conspiracy extended “through at least

18 December 2007,” but all other complaints assert that the alleged conspiracy ended in November 2007.
   This distinction is irrelevant for this motion.
19 10
      See, e.g., Best Buy Compl. ¶ 1; see also Appendix A.
20 11 See, e.g., Best Buy Compl. ¶ 147; see also Appendix A.
     12 See, e.g., Ex. 8, Deposition of Chih Chun Liu (Chunghwa) (February 19–21, 2013) (“Liu Dep.”) at
21
     528:6–14
22
                                     Indeed, Plaintiffs have withdrawn any allegation of a “conspiracy
23 encompassing [CRT] Finished Products,” after Special Master Legge recommended that the Court

24 grant the Defendants’ Rule 11 motion because of the lack of any evidence of such a conspiracy. In re
   Cathode Ray Tube (CRT) Antitrust Litig., 911 F. Supp. 2d 857, 863 (N.D. Cal. 2012); see also
25 Stipulation and Order Concerning Pending Motions Re: Finished Products (Dkt. No. 996, Aug. 26,
   2011) (“The DPPs hereby withdraw their CRT Finished Products Conspiracy Claims stated in the
26 Direct [Consolidated Amended Complaint] . . . .”).
     13 See, e.g., Best Buy Compl. ¶ 147; see also Appendix A.
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         DEFENDANTS PHILIPS ELECTRONICS NORTH AMERICA CORPORATION, PHILIPS TAIWAN LIMITED, AND PHILIPS DO BRASIL
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 5           11)

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 8           12)

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11           13)     PENAC’s, PTL’s, and PDBL’s divestment of their CRT manufacturing and sales

12 operations—and the creation of LPD—was widely reported in the press as well as in KPNV’s and its

13 subsidiaries’ own press releases and public filings.17

14
     14 Ex. 8, Liu (Chunghwa) Dep. at 527:24–528:4
15

16                         ; Ex. 9, Deposition of In Hwan Song (SDI) (Dec. 12–14, 2012) (“Song Dep.”) at
     391:1–7
17                                                               ); Ex. 10, Deposition of Kazuhiro
18 Nishimaru (Toshiba) (June 26–28, 2013) (“Nishimaru Dep.”) at 520:19–23

19                                                                   ; Ex. 11, Deposition of Yasuki Yamamoto
     (Toshiba) (July 1–3, 2013) (“Yamamoto Dep.”) at 497:2–7
20
                                      ; Ex. 12, Deposition of Masaki Sanogawaya (MTPD) (July 31–
21 Aug. 2, 2013) (“Sanogawaya Dep.”) at 498:18–500:3.

22   15 Ex. 13, Deposition of Ayuma Kinoshita (MTPD) (Feb. 5–6, 2013) (“Kinoshita Dep.”) at 402:6–9
     (
23
     16 Ex. 13, Kinoshita (MTPD) Dep. at 402:18–23
24                                                                                 Ex. 14,
   Deposition of Shinichi Iwamoto (MTPD) (Feb. 7–8, 2013) (“Iwamoto Dep.”) at 404:3–8; Ex. 15,
25 Deposition of Nobuhiko Kobayashi (Hitachi) (May 15–17, 2013) (“Kobayashi Dep.”) at 488:22–489:4.

26   17 Ex. 16, PHLP-CRT-048011; Ex. 17, PHLP-CRT-051463; Ex. 18, PHLP-CRT-051470; Ex. 19,
   FOX00015812; Ex. 20, FOX00385164; Ex. 21, HDP-CRT00026035; Ex. 22, HEDUS-CRT00001609;
27 Ex. 23, HEDUS-CRT00152790; Ex. 24, HEDUS-CRT00167890 at 93; Ex. 25, TAEC-CRT-00069443;

28                                                                            (Continued...)

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 1         14)

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 3                                              .18

 4 III.    AFTER JUNE 2001, PENAC, PTL, AND PDBL SOUGHT TO OBTAIN LOWER CRT
           PRICES AND WOULD ONLY HAVE BEEN INJURED BY AN ALLEGED CRT
 5         CONSPIRACY

 6         15)      After the formation of LPD in June 2001, PENAC, PTL, and PDBL and other parts of

 7 the Philips Consumer Electronics product division continued to purchase CRTs as part of their

 8 manufacture and sale of CRT Finished Products.19

 9

10 (...Continued)

11 Ex. 26, TAEC-CRT-00073598; Koninklijke Philips Electronics N.V.’s Annual Report for the Fiscal
   Year Ended December 31, 2001, available at:
12 http://www.sec.gov/Archives/edgar/data/313216/000115697302000178/0001156973-02-000178.txt;
   Koninklijke Philips Electronics N.V.’s Quarterly Report for the Period Ending June 20, 2001, available
13 at: http://www.sec.gov/Archives/edgar/data/313216/000089183601500194/0000891836-01-

14 500194.txt; Koninklijke Philips Electronics N.V.’s Annual Report for the Fiscal Year Ended December
   31, 2000, available at:
15 http://www.sec.gov/Archives/edgar/data/313216/000095012301501898/0000950123-01-501898.txt;
   Koninklijke Philips Electronics N.V.’s Quarterly Report for the Period Ending March 31, 2001,
16 available at: http://www.sec.gov/Archives/edgar/data/313216/000089183601500033/0000891836-01-
   500033.txt.
17
   18 Ex. 9, Song Dep. at 388:13–18 (
18                                                                                    Ex. 11, Yamamoto
   Dep. at 496:11–17 (
19

20                                             Ex. 15, Kobayashi Dep. at 488:14–20 (

21           Ex. 27, LG.Philips Displays Holding B.V. US $2,000,000,000 Senior Term Loan and
   Revolving Credit Facility Confidential Information Memorandum (May 2001) (“Information
22 Memorandum”), T00019542, at 589

23        ; id. at 609
24                                       see also supra n. 17.
   19 Ex. 7, De Moor Dep. at 37:4–6, 41:12–17; Ex. 28, Deposition of Patrick Canavan (Jan. 30-31, 2014)
25 at 73:14–74:3

26

27                                      ).

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 1           16)

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 3           17)

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 6                           .21

 7                                                  ARGUMENT

 8           Summary judgment is appropriate “if the pleadings, depositions, answers to interrogatories, and

 9 admissions on file show, together with the affidavits, if any, that there is no genuine issue as to any

10 material fact and that the moving party is entitled to a judgment as a matter of law.” Celotex Corp. v.

11 Cattrett, 477 U.S. 317, 322 (1986) (citing Fed. R. Civ. P. 56(c)). A party seeking summary judgment

12 bears the initial burden of establishing the absence of a genuine issue of material fact. Id. at 323. To

13 carry its burden on summary judgment, a moving party “must either produce evidence negating an

14 essential element of the nonmoving party’s claim or defense or show that the nonmoving party does

15 not have enough evidence of an essential element to carry its ultimate burden of persuasion at trial.”

16 Nissan Fire & Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102 (9th Cir. 2000). If the moving party

17 meets its initial responsibility, the burden then shifts to the opposing party to establish that a genuine

18 issue as to a material fact actually does exist. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

19

20   20 Ex. 29, Deposition of Jan de Lombaerde (Oct. 9, 2014) (“Lombaerde Oct. 9 Dep.”) at 49:14-50:5

21 (
                                      ); id. at 101:9-15
22                                                                            ; id. at 139:12-141:8
                                                                                                   ).
23
     21 See, e.g., id.; Ex. 29, Lombaerde Oct. 9 Dep. at 41:3-18 (
24                                                                                 ; id. at 111:24-112:10
     (
25

26                                                    Ex. 30, PHLP-CRT-033780; Ex. 31, JLJ-
   00001890; Ex. 32, PHLP-CRT-012618; Ex. 33, PHLP-CRT-026877; Ex. 34, Deposition of Wiebo
27 Vaartjes (Dec. 18–19, 2013) (“Vaartjes Dep.”) at 96:20–97:13, 370:4–6.

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 1 U.S. 574, 586 (1986). The party opposing summary judgment, however, cannot defeat summary

 2 judgment by merely demonstrating “that there is some metaphysical doubt as to the material facts.”

 3 Id.; see also Triton Energy Corp. v. Square D Co., 68 F.3d 1216, 1221 (9th Cir. 1995) (“The mere

 4 existence of a scintilla of evidence in support of the nonmoving party’s position is not sufficient.”

 5 (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986))).

 6          PENAC, PTL, and PDBL seek partial summary judgment on Plaintiffs’ claims for liability and

 7 damages after June 2001 because each of these companies necessarily withdrew from the alleged

 8 conspiracy at that time. While withdrawal is an affirmative defense, summary judgment should be

 9 granted on such a defense where there exists “no genuine issue as to any material fact.” Kam Koon

10 Wan v. E.E. Black, Ltd., 188 F.2d 558, 562 (9th Cir. 1951) (citing Fed. R. Civ. P. 56(c)); see also Fed.

11 R. Civ. P. 56(a) (allowing summary judgment on any “claim or defense”). Thus, summary judgment

12 on withdrawal is appropriate where the defendant can “show that the undisputed facts establish every

13 element of the . . . defense.” See N. Telecom Ltd. v. Samsung Electronics Co., C-95-449 MHP, 1996

14 WL 532122, at *4 (N.D. Cal. Sept. 16, 1996); Drug Mart Pharmacy Corp. v. American Home Prods.

15 Corp., 288 F. Supp. 2d 325 (E.D.N.Y. 2003) (granting summary judgment based on affirmative

16 defense of withdrawal).

17          Applying these standards, partial summary judgment should be granted in favor of PENAC,

18 PTL, and PDBL on Plaintiffs’ claims for liability and damages arising after the divestment of these

19 companies’ CRT operations to LPD in June 2001 because there is no issue of material fact as to

20 whether these defendants withdrew from the alleged conspiracy upon the formation of LPD.

21 I.       JUDGMENT SHOULD BE GRANTED IN FAVOR OF PENAC, PTL, AND PDBL FOR
            ALL PLAINTIFFS’ CLAIMS FOR LIABILITY AND DAMAGES AFTER JUNE 2001
22          BECAUSE EACH OF THESE DEFENDANTS INDISPUTABLY WITHDREW FROM
            THE ALLEGED CONSPIRACY UPON LPD’S FORMATION.
23
            There is no issue of material fact as to whether PENAC, PTL, or PDBL had any involvement in
24
     the alleged conspiracy after the creation of LPD. There is no evidence after June 2001 that any of
25
     these defendants attended meetings of the alleged conspiracy or that they communicated with the
26
     alleged members of the alleged conspiracy for the purpose of fixing CRT prices among competitors.
27
     The reason is simple: these defendants were no longer competitors in the manufacture and sale of
28

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 1 CRTs and thus could not reach agreements on the price of a product they did not sell. Instead, these

 2 defendants’ role in the CRT market after the creation of LPD was only as purchasers of CRTs. In this

 3 role, PENAC, PTL, PDBL, and other KPNV subsidiaries successfully sought to decrease the price of

 4 CRTs that they purchased and would have been just as much victims of the alleged conspiracy as any

 5 of the Plaintiffs because—based on Plaintiffs’ allegations—these companies would have paid super-

 6 competitive prices for CRTs.

 7          This departure from the CRT manufacturing business and the resumption of competitive

 8 behavior—indeed, taking actions directly adverse to the alleged conspiracy’s purpose—was

 9 communicated to the other members of the alleged cartel, and indeed the public at large and

10 constituted an open and notorious withdrawal by these defendants from the alleged conspiracy. SOF

11 ¶¶ 13, 14. As the Supreme Court has recognized, such a clear withdrawal from the alleged conspiracy

12 cuts off PENAC’s, PTL’s, and PDBL’s liability for any acts of the alleged conspiracy after June 2001.

13 See Smith v. United States, 133 S. Ct. 714, 719 (2013). Therefore, partial summary judgment must be

14 granted in these defendants’ favor for all of the Plaintiffs’ claims for liability and damages after June

15 2001.22

16

17

18

19
     22 PENAC, PTL, and PDBL recognize that the Court previously denied KPNV’s and PENAC’s Rule
20 12(b)(6) motion to dismiss the Direct Action Plaintiffs’ (“DAPs”) claims based on withdrawal. See
   Order Adopting in Part and Modifying in Part Special Master’s Report and Recommendation on
21 Defendants’ Motion to Dismiss the Direct Action Plaintiffs’ Complaints, Dkt. No. 1856, at 32–37

22 (Aug. 21, 2013). The record in this litigation, however, has resolved the factual issues that prevented
   the Court from adopting the Special Master’s recommendation to dismiss all claims on the pleadings
23 against KPNV and PENAC. The Court noted that there were “factual disputes about Philips and LG’s
   stakes in LPD, the actual involvement of Philips and LG in LPD and the conspiracy, and so forth.” Id.
24 at 34. At this progressed stage of the litigation, however, the record has made clear that PENAC, PTL,
   and PDBL did not have any “stake” or role in LPD and could not benefit from LPD’s alleged
25 involvement in the alleged conspiracy—they could only be harmed by LPD’s participation. See infra

26 pp. 15, 18–19. Further, the record has also made clear that PENAC, PTL, and PDBL played no role in
   the alleged conspiracy after divesting their CRT operations in June 2001. See infra Section I.B.1.
27 Thus, partial summary judgment is appropriate based upon this advanced record.

28

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 1          A.      Legal Standards For Withdrawal

 2          Withdrawal from a conspiracy “terminates the defendant’s liability for postwithdrawal acts of

 3 his co-conspirators.” Smith, 133 S.Ct. at 719; see also Lothian, 976 F.2d at 1262 (“[A] defendant

 4 cannot be held liable for substantive offenses committed before joining or after withdrawing from a

 5 conspiracy.”). Withdrawal from a conspiracy can be accomplished by any number of means, including

 6 “disavow[al of] the unlawful goal of the conspiracy, affirmatively act[ing] to defeat the purpose of the

 7 conspiracy, or tak[ing] definite, decisive, and positive steps to show . . . the defendant’s disassociation

 8 from the conspiracy.” Lothian, 976 F.2d at 1261 (quoting United States v. Loya, 807 F.2d 1483, 1493

 9 (9th Cir. 1987) (internal quotation marks and brackets omitted)). The Supreme Court made clear in

10 Gypsum that withdrawal can also be satisfied through “[a]ffirmative acts inconsistent with the object of

11 the conspiracy and communicated in a manner reasonably calculated to reach co-conspirators.” 438

12 U.S. at 464–65.23 Affirmative acts that are inconsistent with a conspiracy’s object include the

13 “‘resumption of competitive behavior . . . [which is] sufficient to communicate withdrawal or general

14 abandonment of a price-fixing conspiracy.’” See United States v. Nippon Pape Indus. Co., 62 F. Supp.

15 2d 173, 190 (D. Mass. 1999) (quoting Gypsum, 438 U.S. at 464–65); see also United States v. Swiss

16 Valley Farms Co., 912 F. Supp. 401, 402 (C.D. Ill. 1995) (“resumption of competitive activity can be

17 used to show an affirmative act by Defendants to withdraw from the charged conspiracy”).

18          The public divestiture of a business can constitute effective withdrawal from an alleged

19 antitrust conspiracy. Morton’s Mkt., 198 F.3d at 837–39. In Morton’s Market, the court found as a

20 matter of law that a defendant withdrew from an alleged milk price-fixing conspiracy by selling its

21 dairy, after which it no longer sold milk and thus could not agree to fix the price of milk. Id. at 837–

22
     23 Accord Ninth Circuit Pattern Jury Instructions (Criminal), Instruction No. 8.24 (2013) (“One may
23
     withdraw [from a conspiracy] by doing acts which are inconsistent with the purpose of the conspiracy
24   and by making reasonable efforts to tell the co-conspirators about those acts. You may consider any
     definite, positive step that shows that the conspirator is no longer a member of the conspiracy to be
25   evidence of withdrawal.”); United States v. Granados, 962 F.2d 767, 773 (8th Cir. 1992) (To withdraw
26   from a conspiracy, a conspirator “must take affirmative action, either making a clean breast to the
     authorities or communicating his withdrawal in a manner reasonably calculated to reach co-
27   conspirators.”).

28

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 1 39. While the court recognized that the defendant’s sale was “not a disavowal of the conspiracy so

 2 much as a business decision not to produce milk anymore[,]” id. at 838, the court nonetheless found

 3 withdrawal because the defendant had “severed its ties” to the conspiracy and “did nothing more to

 4 assist or participate in the price-fixing activities of the other dairies.” Id. at 839. The court further

 5 noted that the end of the defendant’s involvement was “communicated to the other dairies by the

 6 media” and thus the withdrawal was effective because the former co-conspirators knew that the

 7 defendant “would not lend its services to the conspiracy” any more. Id.; see also United States v.

 8 Lowell, 649 F.2d 950, 955 (3d Cir. 1981) (“‘[A]ffirmative action’ sufficient to show withdrawal as a

 9 matter of law from the conspiracy . . . may be demonstrated by the retirement of a coconspirator from

10 the business, severance of all ties to the business, and consequent deprivation to the remaining

11 conspirator group of the services that constituted the retiree’s contribution to the fraud.”); cf. In re

12 Iowa Ready-Mix Concrete Antitrust Litig., 768 F. Supp. 2d 961, 976 n.4 (N.D. Iowa 2011) (holding

13 that pleadings were inadequate “to show that the antitrust conspiracy claim can be asserted against VS

14 Holding, where VS Holding has divested itself of its ready-mix concrete business”).

15          Like Morton’s Market, the court in Nippon Paper found withdrawal as a matter of law. In that

16 case, the court granted a motion for judgment of acquittal because it found that the defendant’s

17 resumption of competitive activity constituted ample evidence of withdrawal from the alleged

18 conspiracy. 62 F Supp. 2d at 189–90. In Nippon Paper, the government charged that certain

19 manufacturers of thermal facsimile paper had agreed to fix prices. Id. at 177. The defendant sought

20 acquittal based in part on the argument that the defendant was no longer a member of the conspiracy as

21 of the necessary start of the statute of limitations. Id. at 189–90. In granting the motion for acquittal,

22 the court relied upon the fact that the defendant had conveyed to the other conspirators that it “was no

23 longer going to coordinate any prices with other members of the conspiracy.” Id. at 190–91. Instead,

24 the defendant had resumed “competitive behavior” by engaging in “individualized, customer-by-

25 customer price negotiations,” the “mechanism by which real competition takes place.” Id.

26          Applying these standards to PENAC, PTL, PDBL, it is clear that these companies withdrew

27 from the alleged conspiracy when they divested their CRT operations to LPD in June 2001.

28

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 1          B.        PENAC, PTL, and PDBL Indisputably Withdrew From The Alleged Conspiracy
                      In June 2001
 2
                      1.    After June 2001, PENAC, PTL, and PDBL did not attend any meetings of
 3                          the alleged conspiracy and could no longer allegedly benefit from the
                            alleged conspiracy.
 4
            It is undisputed—and indeed affirmatively alleged in Plaintiffs’ complaints—that all of the
 5
     CRT manufacturing and sales operations previously performed by PENAC, PTL, and PDBL, and all of
 6
     their CRT assets, were transferred to LPD upon that company’s formation in June 2001. SOF ¶ 3; Best
 7
     Buy Compl. ¶ 45 (“In 2001, Royal Philips transferred its CRT business to a 50/50 joint venture with
 8
     Defendant LGEI, forming Defendant LGPD (n/k/a LP Displays.”); see also Appendix A. After June
 9
     2001, PENAC, PTL, and PDBL all stopped manufacturing CRTs. SOF ¶ 4. By this act of divesting
10
     the entirety of these companies’ CRT businesses, PENAC, PTL, and PDBL “severed their ties” with
11
     the alleged conspiracy and thus withdrew from the alleged conspiracy once LPD was formed. See
12
     Morton’s Market, 198 F.3d at 839. Just like the defendant who sold its dairy in Morton’s Market,
13
     PENAC, PTL, and PDBL “did nothing more to assist or participate” in the alleged CRT conspiracy
14
     following the June 2001 divestiture of their CRT businesses as they no longer sold CRTs and thus
15
     could not agree to fix the price of CRTs. Id. at 837–39.
16
            Indeed, after June 2001, Plaintiffs have presented no evidence that PENAC, PTL, or PDBL
17
     employees attended any meetings of the alleged conspiracy or agreed to fix CRT prices among
18
     competitors.24
19

20   24 This lack of evidence is exposed by Plaintiffs’ Supplemental Attachment A, in which Plaintiffs list

21 the alleged meetings of the alleged conspiracy and the individuals or companies that allegedly
   participated in each meeting. See, e.g., Ex. 35, Objections and Responses by Plaintiffs Dell Inc. and
22 Dell Products L.P. to Defendant KPNV’s First Set of Interrogatories, Supplemental Attachment A
   (September 11, 2014).
23
                                                                                                       See,
24
   e.g., id. at 80
25
              , see Ex. 29, Lombaerde Oct. 9 Dep. at 36:24-40:16). Such meetings clearly cannot establish
26 PENAC’s, PTL’s, or PDBL’s continuing involvement in an alleged conspiracy to fix the price of
   CRTs.
27                                                            . See, e.g., id. at 66 (listing a meeting on
28                                                                                               (Continued...)

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 1                                                                                                   SOF ¶¶ 10,

 2 11. Mr. Song, an SDI employee during the relevant time period, testified that

 3                                                                                                   . Ex. 9,

 4 Song Dep. at 391:1–7. Mr. Liu of Chunghwa similarly testified that,

 5

 6                   . Ex. 8, Liu Dep. at 527:24–528:4. Individuals employed by Toshiba and MTPD also

 7 testified that,

 8                                      . See Ex. 10, Nishimaru (Toshiba) Dep. at 520:19–23 (

 9

10                                                                               Ex. 11, Yamamoto (Toshiba)

11 Dep. at 497:2–7; Ex. 12, Sanogawaya (MTPD) Dep. at 498:18–500:3.

12          This complete termination of PENAC’s, PTL’s, and PDBL’s participation at alleged conspiracy

13 meetings constitutes “definite, decisive, and positive steps to show . . . the defendant’s disassociation

14 from the conspiracy.” Lothian, 976 F.2d at 1261. Plaintiffs have asserted that the alleged conspiracy

15 was implemented and enforced through competitor meetings at which pricing agreements were made

16 and compliance with previous agreements was monitored and enforced.25 PENAC, PTL, and PDBL

17 clearly could not “assist or participate” in the alleged conspiracy if they did not attend any of the

18 alleged meetings after June 2001. Morton’s Mkt., 198 F.3d at 839. Instead, these defendants deprived

19 the remaining alleged conspirators of the “services that constituted [these defendants’ alleged]

20 contribution to the [conspiracy];” they no longer attended meetings and thus could no longer enter into

21 alleged pricing agreements. Lowell, 649 F.2d at 955; see also United States v. Nerlinger, 862 F.2d

22 967, 974 (2d Cir. 1988) (holding that the defendant’s closing of a financial account used to effectuate

23

24 (...Continued)

25
                                               Ex. 36, Deposition of Kris Mortier (June 9-10, 2014) at
26 50:13–23, 249:14–251:13).
     25 See, e.g., Best Buy Compl. ¶¶ 125, 130; see also Appendix A.
27

28

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 1 the conspiracy constituted effective withdrawal because it “disabled him from further participation [in

 2 the conspiracy] and made that disability known to [conspirators]”); United States v. Steele, 685 F.2d

 3 793, 803–04 (3d Cir. 1982) (holding that the defendant withdrew from bribery conspiracy when he

 4 “resigned and permanently severed his employment relationship” with the conspiring company).

 5          Further, it cannot be argued that PENAC, PTL, and PDBL benefited from the alleged

 6 conspiracy after they divested their CRT operations in June 2001. See Lothian, 976 F.2d at 1263–64

 7 (finding a “prima facie showing of withdrawal” where defendant left the enterprise and received no

 8 further benefit from the enterprise). Plaintiffs have presented no evidence that PENAC, PTL, and

 9 PDBL could somehow benefit from LPD’s alleged participation in the alleged conspiracy. While

10 Plaintiffs have contended that “Philips’ and LG’s ownership of LPD is one fact indicating they did not

11 effectively withdraw from the conspiracy,”26 only KPNV held shares in LPD—not PENAC, PTL, or

12 PDBL. These companies had zero ownership interest in LPD and thus could not benefit from LPD’s

13 alleged participation in the alleged conspiracy. To the contrary, as explained below, PENAC, PTL,

14 and PDBL would have been directly harmed by LPD’s alleged participation. See infra Section I.B.3.

15          Finally, like the defendant in Morton’s Market, PENAC’s, PTL’s, and PDBL’s “sever[ance of

16 their] ties” to the alleged conspiracy was communicated to the alleged members of the alleged

17 conspiracy. Morton’s Mkt., 198 F.3d at 839; see also Gypsum, 438 U.S. at 464–65 (holding that

18 withdrawal can be established by “[a]ffirmative acts inconsistent with the object of the conspiracy and

19 communicated in a manner reasonably calculated to reach co-conspirators”). The divestment of

20 PENAC’s, PTL’s, and PDBL’s CRT operations and the creation of LPD in June 2001 was widely

21 reported in the press and would have been known by all of the competitors attending meetings of the

22 alleged conspiracy. SOF ¶¶ 13,14; see also Morton’s Mkt., 198 F.3d at 839 (noting that the

23 defendant’s withdrawal from the dairy industry was “communicated to the other dairies by the

24 media”).

25
     26 See Direct Action Plaintiffs’ (“DAPs”) Reply Brief in Support of Their Objections to the Special
26
   Master’s Report and Recommendations Regarding Philips’ and LG’s Motion to Dismiss Certain Direct
27 Action Plaintiffs’ Complaints, p. 6, n.4 (Dkt. No. 1800, July 26, 2013)).

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 3

 4                                                              . SOF ¶¶ 13, 14.

 5

 6                        SOF ¶ 13 n.17. Thus, the publicly reported divestment of PENAC’s, PTL’s, and

 7 PDBL’s CRT businesses effectively communicated to the alleged co-conspirators that these companies

 8 would no longer be “lend[ing their] services to the [alleged] conspiracy.” Morton’s Mkt., 198 F.3d at

 9 839. Withdrawal is thus established as a matter of law.

10                  2.       After June 2001, PENAC, PTL, and PDBL were purchasers of CRTs and
                             affirmatively acted to defeat the very purpose of the alleged conspiracy by
11                           successfully negotiating for lower CRT prices.
12          Not only did PENAC, PTL, and PDBL no longer attend meetings of the alleged conspiracy

13 after LPD was formed, but their actions would have actively undermined the very purpose of the

14 alleged conspiracy: to raise the price of CRTs. After June 2001, these defendants’ only connection to

15 the CRT industry was as purchasers of CRTs through PCE divisions in each of these companies. Thus,

16 the only discussions these defendants would have had with the alleged conspirators about the price of

17 CRTs would have been as CRT customers—not CRT manufacturers or competitors.

18

19                                                                      SOF ¶¶ 16, 17. Jan de Lombaerde

20 testified that

21 Ex. 29, Lombaerde Oct. 9 Dep. at 41:3–18.

22

23                       SOF ¶ 17. The record is filled with examples of these demonstratively price-

24 reducing negotiations.

25
     27 Ex. 37, Q&A “From the Management Kickoff,” July 4, 2001, PHLP-CRT-032285, at 307
26

27

28

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 1             
 2

 3                                              . Ex. 30, PHLP-CRT-033780.

 4                                                                                                    .” Id. at

 5                 781.

 6                Bob O’Brien of LPD indicated
 7

 8                                                                                                    .” Ex. 31,

 9                 JLJ-00001890.

10             
11

12                                                         Ex. 32, PHLP-CRT-012618.

13             
14                                                                                        Ex. 33, PHLP-CRT-

15                 026877 at 78.

16                Wiebo Vaartjes of LPD testified
17

18                                 Ex. 34, Vaartjes Dep. at 370:4–6. Mr. Vaartjes further testified

19

20                                                                                             ” Id. at 96:24–

21                 97:2.

22         This demonstratively price-decreasing activity constitutes the “resumption of competitive

23 behavior,” which is “sufficient to communicate withdrawal or general abandonment of a price-fixing

24 conspiracy.” See Nippon Paper, 62 F. Supp. 2d at 190. By successfully seeking to obtain lower prices

25 for the CRTs they purchased—a goal that was directly contrary to the purported goal of the alleged

26 conspirators to raise the price of CRTs—PENAC, PTL, and PDBL unequivocally “disavow[ed] the

27 unlawful goal of the [alleged] conspiracy.” Lothian, 976 F.2d at 1261. Instead, by engaging in these

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 1 price-lowering negotiations, PENAC, PTL, and PDBL “affirmatively acted to defeat the purpose of the

 2 conspiracy.” Id.; see also Gypsum, 438 U.S. at 464–65 (holding that withdrawal can be established by

 3 “[a]ffirmative acts inconsistent with the object of the conspiracy and communicated in a manner

 4 reasonably calculated to reach co-conspirators”). Further, like these entities’ absence from any alleged

 5 conspiracy meetings, PENAC’s, PTL’s, and PDBL’s attempt to obtain lower CRT prices would have

 6 been communicated to the alleged conspirators, especially LPD and other CRT manufacturers with

 7 whom PENAC, PTL, and PDBL were negotiating. See Gypsum, 438 U.S. at 464–65 (holding that

 8 withdrawal can be satisfied through “[a]ffirmative acts inconsistent with the object of the conspiracy

 9 and communicated in a manner reasonably calculated to reach co-conspirators”).

10                  3.      After June 2001, PENAC, PTL, and PDBL would have been victims of the
                            alleged conspiracy.
11
            After June 2001, PENAC, PTL, and PDBL were solely purchasers of CRTs and, therefore, if
12
     Plaintiffs’ allegations are true, PENAC, PTL, and PDBL would have been directly harmed by the
13
     alleged conspiracy.
14
            As solely purchasers of CRTs after June 2001, any increase in the price of CRTs caused by the
15
     alleged conspiracy would have increased the price that these defendants paid for CRTs, thereby
16
     decreasing their profit margins on the sale of CRT Finished Products. Further, because PENAC, PTL,
17
     and PDBL directly purchased CRTs—not just CRT Finished Products—these companies would have
18
     been more directly injured by the alleged conspiracy than were the retailer DAPs or the consumer
19
     IPPs, as they would have borne the full cost of any alleged inflation in the price of CRTs, a cost that
20
     they likely could not pass on to secondary purchasers. See Ex. 38, Deposition of Jan de Lombaerde
21
     (Oct. 10, 2014) (“Lombaerde Oct. 10 Dep.”) at 43:3–6 (
22

23
        ). Thus, after June 2001, it makes no more sense to consider PENAC, PTL, and PDBL to be
24
     members of the alleged conspiracy than any of the DAP Plaintiffs. Such an absurdity was recognized
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     by the Court in holding that a CRT purchaser’s participation in the alleged conspiracy is “counter-
26
     indicated, since [the defendant] was a purchaser of tubes and could be adversely impacted by higher
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 1 tube prices.” Order Adopting Special Master’s Report & Recommendation re: Pls.’ Motion for Further

 2 Discovery from Defendant Samsung Electronics Company at 4 (Dkt. No. 1410, Oct. 18, 2012).

 3          Therefore, based on the undisputed evidence in this action, withdrawal is established as a

 4 matter of law. Indeed, withdrawal in this case is even more pronounced than the conduct found to

 5 constitute withdrawal as a matter of law in Morton’s Market and Lothian. In Morton’s Market,

 6 withdrawal was established by the mere sale of the allegedly conspiring dairy business. 198 F.3d at

 7 839. In Lothian, withdrawal was found where the defendant resigned from the defrauding business,

 8 left the region, and ceased receiving a financial benefit from the fraud. See 976 F.2d at 1263–64.

 9 Here, however, not only did PENAC, PTL, and PDBL simply stop selling CRTs and allegedly

10 benefiting from the alleged conspiracy (as in Morton’s Market and Lothian), but they actively sought

11 to lower the price they paid for CRTs and—based on Plaintiffs’ allegations—would have become

12 victims of the alleged conspiracy as purchasers of CRTs. Thus, as withdrawal was found as a matter of

13 law in Morton’s Market and Lothian, withdrawal should also be found as a matter of law here and

14 partial summary judgment should be granted in favor of PENAC, PTL, and PDBL on all of the

15 Plaintiffs’ claims for liability and damages after June 2001.

16                                               CONCLUSION

17          For the foregoing reasons, the Court should enter an Order granting judgment on behalf of

18 PENAC, PTL, and PDBL on all of the Plaintiffs’ claims for liability and damages after June 2001.

19
     Dated: November 7, 2014                       By: /s/ Erik T. Koons
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